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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA )
                         )              CRIMINAL ACTION NO.
    v.                   )                2:10cr186-MHT
                         )                    (WO)
JARRELL W. WALKER, JR.   )

                              ORDER

    Upon careful consideration of defendant Jarrell W.

Walker, Jr.’s motion for judgment of acquittal (doc.

no. 1544), it is ORDERED that the motion is denied

without prejudice and with leave to renew at the end

of all the evidence.

    DONE, this the 28th day of July, 2011.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
